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                                     EXHIBIT B

                                  Arbitration Claim




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  Fill in this information to identify the case:                                                                                           Date Filed: 11/15/2023
                                                                                                                                           Claim No: 663
  Debtor       Amyris, Inc.


  United States Bankruptcy Court for the District of      District of Delaware


  Case number         23-11131




Official Form 410
Proof of Claim                                                                                                                                         04/22
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a request
for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents that support
the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements.
Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

Part 1: Identify the Claim
  1.   Who is the current
                                    Lavvan, Inc.
       creditor?

                                     Name of the current creditor (the person or entity to be paid for this claim)


                                     Other names the creditor used with the debtor


  2.   Has this claim been
                                          No
       acquired from someone
       else?                              Yes.     From whom?

  3.   Where should notices
       and payments to the            Where should notices to the creditor be sent?          Where should payments to the creditor be
       creditor be sent?                                                                     sent? (if different)

       Federal Rule of
       Bankruptcy Procedure         Lavvan, Inc.
       (FRBP) 2002(g)
                                    Neil Closner
                                    434 West 33d Street
                                    New York, NY 10001
                                    P: 416-716-6606
                                    E: neil@lavvan.com




                                    Uniform claim identifier for electronic payments in chapter 13 (if you use one):
                                    __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

  4.   Does this claim amend
                                          No
       one already filed?
                                          Yes. Claim number on court claims registry (if known)         639              Filed on       11/15/2023

                                                                                                                                    MM/DD/YYYY

  5.   Do you know if anyone
                                          No
       else has filed a proof of
       claim for this claim?              Yes. Who made the earlier filing?




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                                                              123631115233478992600001
                   CaseAbout
Part 2: Give Information 23-11131-TMH     Doc
                             the Claim as of the1095-3    FiledWas
                                                 Date the Case 01/05/24
                                                                   Filed                                                       Page 3 of 6

 6.    Do you have any number
                                            No
       you use to identify the
       debtor?                              Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:


 7.    How much is a claim?          unliquidated                                          Does this amount include interest or other charges?

                                                                                                No

                                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                                     charges required by Bankruptcy Rule 3001(c)(2)(A).


 8.    What is the basis of the
                                      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card
       claim?
                                      Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                      Limit disclosing information that is entitled to privacy, such as health care information.

                                      See addendum



 9.    Is all or part of the claim
                                          No
       secured?
                                          Yes. The claim is secured by a lien on property

                                                 Nature of property

                                                         Real estate.           If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                                                Attachment (Official Form 410-A)with this Proof of Claim.

                                                         Motor vehicle.

                                                         Other. Describe:       intellectual property



                                                    Basis for perfection:       UCC financing statement


                                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                    example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been
                                                    filed or recorded.)

                                                    Value of property:                                  unknown


                                                    Amount of the claim that is secured:                unknown


                                                    Amount of the claim that is unsecured:              unknown                        (The sum of the secured and
                                                                                                                                       unsecured amounts should match the
                                                                                                                                       amount in line 7.)


                                                    Amount necessary to cure any default as
                                                    of the date of the petition:


                                                    Annual Interest Rate (when case was filed)                                    %


                                                         Fixed

                                                         Variable




 10.    Is this claim based on a
                                               No
        lease?
                                               Yes.    Amount necessary to cure any default as of the date of the petition.        $



 11.    Is this claim subject to a
                                               No
        right of setoff?
                                               Yes.    Identify the property:
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  12.   Is all or part of the claim
                                               No
        entitled to priority under
        11 U.S.C. § 507(a)?                    Yes.       Check one:                                                             Amount entitled to priority
        A Claim may be partly                  Domestic support obligations (including alimony and child support)
        priority and partly                    under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
        nonpriority.For example,
        law limits the amount                  Up to $3,350* of deposits toward purchase, lease, or rental of property
        entitled to priority.                  or services for personal, family, or household use. 11 U.S.C. §
                                               507(a)(7).

                                               Wages, salaries, or commissions (up to $15,150*) earned within 180
                                               days before the bankruptcy petition is filed or the debtor’s business
                                               ends, whichever is earlier. 11 U.S.C. § 507(a)(4)

                                               Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).

                                               Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

                                               Other. Specify subsection of 11 U.S.C. § 507(a)() that applies.



                                          *Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.

  13.   Is all or part of the claim
                                               No
        pursuant to 11 U.S.C
        § 503(b)(9)?                           Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20 days
                                               before the date of commencement of the above case, in which the goods have been sold to the Debtor in the ordinary
                                               course of such Debtor’s business. Attach documentation supporting such claim.



Part 3: Sign Below
 The person completing this proof           Check the appropriate box
 of claim must sign and date it.
 FRBP 9011(b).                                      I am the creditor.

                                                    I am the creditor’s attorney or authorized agent.
 If you file this claim electronically,
 FRBP 5005(a)(2) authorizes courts                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 to establish local rules specifying
                                                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 what a signature is
                                            I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 A person who files a fraudulent
                                            amount of the claim, the creditor gave the debtor credit for any payments received toward the debt
 claim could be fined up to
 $500,000, imprisoned for up to 5           I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
 years, or both. 18 U.S.C. §§ 152,
 157, and 3571.                             I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on date & time           11/15/2023 at 11:22 am PT
                                                                              MM / DD / YYYY HH : MM
                                            /s/Neil Closner
                                            Signature
                                            Print the name of the person who is completing and signing this claim:
                                            Name                               Neil                         Closner
                                                                               First Name    Middle Name Last Name


                                            Title                             CEO


                                            Company                           Lavvan, Inc.
                                                                              Identify the corporate servicer as the company if the authorized agent is a servicer
                                            Address                            434 West
                                                                               33d Street
                                                                               Number        Street

                                                                               New York      NY           10001
                                                                               City          State        ZIP Code

                                            Contact phone


                                            Email                             neil@lavvan.com




                                                                                Proof Of Claim                                                                       Page 3
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

AMYRIS, INC., et al.,                                 Case No. 23-11131 (TMH)

                                                      (Jointly Administered)
         Debtors. 1


               ADDENDUM TO PROOF OF CLAIM FILED BY LAVVAN, INC.

                   1.     This proof of claim (the “Claim”) is filed by Lavvan, Inc. (“Lavvan”)

against Amyris, Inc. (the “Debtor”).

                   2.     The basis for this Claim is: Claims under the Research, Collaboration and

License Agreement, dated as of March 18, 2019 as asserted in the International Chamber of

Commerce International Court of Arbitration, Case No. 25598.

                   3.     Lavvan files this Claim with full reservation of rights, including, without

limitation, to amend, clarify, or supplement this Claim at any time, in any manner, and for any

reason, including but not limited to, fixing or liquidating any claims stated herein, specifying

claims for ongoing obligations of the Debtor that are not expressly described herein, or asserting

any additional claims, including for secured status or priority (including pursuant to section

507(b) of the Bankruptcy Code), subrogation (equitable or otherwise), state and common law

causes of action, and interest owed on account of any claims included herein, and to file

additional proofs of claim for additional claims at any time, manner, and for any reason, either

before or after the applicable bar date established in these chapter 11 cases.


1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.



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                   4.   The execution and filing of this Claim are not (a) a waiver or release of

Lavvan’s rights against any entity or person liable for all or part of the claims herein, (b) a

consent by Lavvan to the jurisdiction of this Court with respect to any proceeding commenced in

these chapter 11 cases against or otherwise involving Lavvan, (c) a waiver of Lavvan’s right to

have any and all final orders in any and all non-core matters entered after de novo review by a

United States District Court judge or its right to a trial by jury in any proceeding as to any and all

matters so triable, whether designated legal or private rights, or in any case or controversy or

proceeding related thereto, notwithstanding the designation of such matters as “core

proceedings” pursuant to section 157(b) of the Bankruptcy Code or otherwise, and whether such

jury trial is pursuant to statute or the United States Constitution; (d) a waiver of the right to

withdraw the reference with respect to the subject matter of the claims herein, any objection or

other proceeding commenced with respect thereto or any other proceeding commenced in this

case against or otherwise involving Lavvan, (e) an election of remedy that waives or otherwise

affects any other remedy, (f) a waiver or release of Lavvan’s rights and remedies under

applicable law, (g) a waiver of any right of action that Lavvan has or may have against the

Debtor or any other person or entity; and/or (h) a waiver or release of Lavvan’s rights against

any third party.




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